              Case 3:21-cv-00259-DCG-JES-JVB           Document 962-8     Filed 05/07/25   Page 1 of 2




                                                       Exhibit 8
                        Designations of Deposition Testimony of Colleen Garcia (June 28, 2022)


              Plaintiffs’ Affirmative Designations                         Defendants’ Counter Designations
Start Page/Line          End Page/Line           Defendants’     Start Page/Line   End Page/Line         Plaintiffs’
                                                 Objections                                             Objections
        57:1                   59:19
       61:13                    63:8
        64:8                   64:12
       65:10                    66:7
       67:14                   67:20
       68:17                    69:3
       70:18                   71:16
       72:17                   72:25
        73:8                   74:10
        79:8                   81:16
       81:25                   82:16
       82:21                    83:8
       83:15                   84:13
        90:1                    90:5
       90:10                   90:24
        91:3                   91:12
        99:11                  99:20
       99:23                   100:20
      109:18                   110:10
       111:19                  111:25
       113:24                  114:15
       131:8                   132:21
       135:2                   136:7
       138:1                   139:19
       140:5                   141:22
      149:23                   150:11

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              Case 3:21-cv-00259-DCG-JES-JVB          Document 962-8   Filed 05/07/25    Page 2 of 2




             Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                            Objections
      151:23                  152:15
       161:9                  161:22
      162:25                  163:14
      163:23                  164:5
      165:25                  166:11
      167:22                  169:25
      170:22                  171:5
      181:20                  181:25
       182:8                  182:25
       186:5                  188:24
      189:23                  190:11
      192:10                  192:24
      193:16                  194:18
      195:17                  197:17
       199:3                  199:11
       200:8                  200:16
       209:4                  209:11
      212:16                  212:23
       213:3                  213:21
      218:17                  221:4
       222:5                  222:11
      225:16                  226:12




                                                          2
